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MIDDLE DISTRICT oF FLORIDA _1¥1..*'1111":111»1

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TAMPA DlvlsloN ‘1'.-1 1 1‘.*}11§`* .

CIVIL ACTION No_; €.-c% c 1/ ila §Tz anew

Jesse Blount,

 

Plaintil"F,
v.
Medieredit, Inc.
Defendant.
/
COMPLAINT FOR DAMAGES,
IN N TIVE RELIFF A l) DEMA D F Y TRIAL

Plaintiff, Jesse Blount (“Ml‘. Blount”), files this Complaint against
Dei"endant Medicredit, Inc. (“Medicredit”) and, in support thereof, states as

follows:

lNTRODUCTION
l. The Complaint arises l"l'om Defendant’s multiple and egregious
violations of the following statutory and common-law Violations: (l)
the Fail' Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692
et seq.; (2) the T_elephone Consumer Proteotion Act (“TCPA”), 47
U.S.C. §§ 227 et seq.; (3) the Florida Consumer Collection Practices
Act (“FCCPA”), Fla. Stat. §§ 559.55 et seq.; (4) the Flol'ida Deceptive
and Unfair Trade Practiees Act (“FDUTP ”), Fla. Stat. §§ 501.201 et

seq.; and (5) invasion ol" privacy, for Defendant’s numerous calls to

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Plaintifl_'"s cell phone using an illegal automatic dialing system in an
attempt to collect an alleged debt.

2. The Telephone Consunier Protection Act (“TCPA”), 47 U.S.C. §227,
Was designed to prevent calls like the ones described Within this
complaint, and to protect the privacy of citizens like Plaintil"f". ln
enacting the TCPA, Congi'ess intended to give consumers a choice as
to how creditors and telemai‘keters may call them, and made specific
findings that “[t]echnologies that might allow consumers to avoid
receiving such calls are not universally available, are costly, are
unlikely to be enforced, or place an inordinate burden on the consumer.
TCPA, Pub.L. No. 102-243,§ ll.

3. Toward this end, Congress found that:

[b]anning such automated or prerecorded telephone calls
to the horne, except when the receiving party consents to
receiving the call or When such calls are necessa in an
emergency situation affectin the health and sa ety_ot`
the consumer, is the only e 'ective means of protecting
telephone consumers from this nuisance and privacy
invasion

Id. at § 12; See also Mc_ii‘fi'n v. Leadi`ri§ Eci’ e Recoveiy
Solui.‘i'ons, LLC, 2012 WL 3292838, at _4 ( .D. Ill. Au .
10, 2012) (citing Congressional findings on TCPAs
purpose).

4. Congress also specifically found that “the evidence presented to
Congress indicates that automated or prerecorded calls are a nuisance
and an invasion of privacy, regardless of the time of call....” Id. at §§
12-13. See also, Mz'ms v. Ari'ow Fi`n. Ser'vs., LLC, 132 S. Ct. 740, 744

(2012).

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5. Plaintiff brings this action to challenge the conduct of Defendant
Medicredit, with regard to attempts by Defendant to unconscionably
and abusiver collect debts allegedly owed by Plaintiff. Further,
Plaintiff bring this action for damages and any other available legal or
equitable remedies resulting from the actions of Defendant in their
negligent and/or willful violations of the TCPA.

6. Plaintiff makes these allegations on information and belief, with the
exception of those allegations that pertain to Plaintiff, or to Plaintiff’s
counsel, which Plaintiff allege on personal knowledge

7. While many violations are described below with specificity, this
Complaint alleges violations of the statutes cited in their entirety.

8. Any violations by Defendant were knowing, williiil, and intentional,
and Defendant did not maintain procedures reasonably adapted to
avoid any such violation

.]URISI)ICTION AND VENUE

9. Pursuant to 28 U.S.C. § 1331, 47 U.S.C. § 227(b), and 28 U.S.C. §
1367, this Court has federal question jurisdiction to hear any federal
claims and supplemental jurisdiction over any state claims.

lO. This Court has federal question jurisdiction because this action arises
out of De'fendant’s violations of a federal law. 47 U.S.C. § 227(b);
Mi`nis v. A)‘row an. Servs. LLC, 132 S. Ct. 740 (2012).

ll. Venue is proper in this United States District Court pursuant to 28
U.S.C. § l391(b) because Defendant conducts business within this

judicial district and has a principal place of business in this district.

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PARTIES

12. Mr. Blount is an individual residing in Alachua County, Florida.

13. Medicredit is a foreign for-profit corporation registered to do business
in the State of Florida. Defendant may be served with process through
its registered agent at the following address: Medicredit, lnc., c/o C T
Corporation System, Registered Agent, 1200 S. Pine Island, Plantation,
Florida 33324.

14. Plaintiff does not know the exact identities of the creditors that own
the debt that Defendant attempted to collect from Plaintiff. Upon
information and belie'f, Plaintiff allege that each such creditor has
expressly retained Defendant to act as its agent and has ratified
Defendant’s actions, including the violations of law described herein,
by, among other things, knowingly accepting the benefits obtained by
Defendant’s actions. Plaintiff seeks discovery to identify these
creditors and will seek to amend this Complaint to include these
creditors as parties.

15. Unless otherwise indicated, the use of a Defendant’s name in this
Complaint includes all the agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties,
subrogees, representatives, and insurers of the named Defendant.

FACTUAI.. ALLEGA'I`IONS

16. Beginning in or around June l, 2017, Defendant harassed, oppressed,

and abused l\/lr. Blount in the form of making repeated calls to his

cellular telephone number ending in 1202 using an automatic dialing

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and/or predictive dialer system after repeated pleas to stop the
harassing calls.

17. After receiving repeated calls from Defendant, Blount told a female
agent of Medicredit to stop calling him on or around June 8, 2017. I-le
identified himself, so that the agent knew she was speaking to Blount.

18. One other continued call was on or around .lune 16, 2017, when Blount
spoke to another female agent. Blount also told the agent to stop
calling, and that he had already told another of Defendant’s agent to
stop calling him. Blount again identified himself in that call as well,
and the agent acknowledged that she understood what he was saying
Then Blount hung up the phone.

19. Blount still continued to receive numerous, harassing, and unwanted
phone calls from Medicredit through its usage of an automatic
telephone dialing machine to make the phone calls. lt was obvious that
Blount’s pleas to various agents to stop calling did not register with it’s
system and that Blount was on some campaign schedule of sorts to be
called. The agents did not have any knowledge of Blount’s prior
communications with Medicredit’s other agents in which he told other
agents to stop calling his cell phone.

20. On August 31, 2017, Blount sent a letter to Defendant memorializing
the calls he had received to that point, requesting in writing that the
calls stop, and requesting a cease and desist of all communications
with him.

21. Despite telling Defendant twice verbally and once in writing to stop

harassing him with phone calls, the calls persisted.

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22. Defendant generally called Blount from (800) 823-2318. lts numbers
were assigned to Defendant by its subscriber and/or numbers
Defendant intentionally programed to display on Blount’s Caller ID in
order to mask it’s identity and avoid detecting and/or evade any call
blocking application on Blount’s phone to avoid the harassing calls.

23. Blount clearly revoked any type of prior express consent, if prior
express consent ever existed, to receive such calls.

24. Blount answered some of the above mentioned autodialed telephone
calls from Defendant and asked Defendant to stop calling Despite
these clear and unmistakable requests, the calls continued without
interruption Each of these requests terminated any express or implied
consent that Defendant may have had prior to beginning its campaign
of harassment by telephone

25. The calls by Defendant to Blount’s cell phone continued, even after
Blount’s multiple revocations

26. The calls to Mr. Taylor on his cellular telephone were made using an
automatic telephone dialing system and/or using an artificial or
prerecorded voice, prohibited under 47 U.S.C. § 227.

27. Specitically, Defendant used a dialer which capabilities include,
among others, autodialing and predictive capabilities The calls were
not instantaneous, and when he answered, no one was on the line.

28. In addition, when Blount answered the calls from Defendant and
picked up his phone, he also often times heard a silence, sometimes

with two to three consecutive computerized clicks and/or beep tones,

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before Defendant’s representative picked up the line and started
Speaking to him.

29. The dialer had the capacity to store or produce telephone numbers to
be called, using a random or sequential number generator.

30. These calls were made by Defendant/or Defendant’s agent or vendor,
with Defendant’s permission, knowledge, and control, for Defendant’s
benefit.

31. As a result of the telephone calls by Defendant, or its agent(s),
Defendant violated 47 U.S.C. § 227(b)(1).

32. Through Defendant’s actions, Blount suffered an invasion of a legally
protected interest in privacy, which is specifically addressed and
protected by the TCPA.

33. Tlie unrelenting, repetitive calls disrupted Blount’s daily activities and
the peaceliil enjoyment of his personal and professional life, including
the ability to use his phone.

34. The calls were extremely intrusive upon Blount’s relationships with
close family members Specifically, the calls came in during an
especially difficult time for Blount and his family in that he and his
family were mourning the loss of his brother.

35. The stress from the calls caused physical ailments including stomach
aches, headaches, and exhaustion

36. When he did communicate with family members, the nature of the
calls, reason, and manner of the calls were the subject of

conversations, which Plaintiff found embarrassing

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37. The emotional and physical stress he endured from the calls
inadvertently permeated those communications and stained his
relationships, as he was emotionally and physically stressed out from
the calls and couldn’t easily engage with him family members as he
wished he could have.

38. Blount was personally affected, becoming frustrated and distressed
that despite telling Defendant to stop calling his cellular phone,
Defendant continued to harass him with collection calls using the

illegal, computerized dialer.

£;AUSES OF ACTION

Counr l
NEGLioENT VioLATioNS OF Ti~is _
TELEPHONE CoNsuMER PionEcTIoN ACT (TCPA)
47 U.S.C. §§ 227 ETSEQ.

39. Plaintiff realleges and incorporates by reference each and every
allegation in the preceding paragraphs as if fully set forth herein.

40. The foregoing acts and omissions of Defendant constitute numerous
and multiple negligent violations of the TCPA, including each and
every one of the provisions of47 U.S.C. § 227 regarding the use of an
automatic and/or predictive dialer to call consumer’s cell phones
without their prior express consent

41. As a result of Defendant’s negligent violations of 47 U.S.C. § 227,
Plaintiff is entitled to an award of $500.00 in statutory damages, for
each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

42. Plaintiffs are also entitled to and seek injunctive relief prohibiting such

conduct in the future.

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Kr\'owiNG ANr)/oR WiLLFuL OF TiiE
TELii.Pi-ioNE CONSUMF:R PRo'i‘i:CTioN ACT (TCPA)
47 U.S.C. §§ 227 ETSEQ.

43. Plaintiff realleges and incorporates by reference each and every
allegation in the preceding paragraphs as if fully set forth herein.

44. Each call after Plaintiff first requested Defendant stop calling his cell
phone constitutes a knowing and/or willful violation of the TCPA.

45. The foregoing acts and omissions of Defendant constitute numerous
and multiple knowing and/or willful violations of the TCPA, including
but not limited to each and every one of the above-cited provisions of
47 U.S.C. § 227.

46. As a result of Defendant's knowing and/or willful violations of 47
U.S.C. § 227, Plaintiffs are each entitled to an award of $1,500.00 in
statutory dainages, for each and every violation, pursuant to 47 U.S.C.
§ 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

47. Plaintiff is also entitled to and seek injunctive relief prohibiting such

conduct in the future

COUNTIH
VioLATioN or Ti-ie FDCPA
15 U.S.C. §§ 1692-1692p ETSEQ.

48. Plaintiff realleges and incorporates by reference each and every
allegation in the preceding paragraphs as if fully set forth herein.

49. The Fair Debt Collection Practices Act was designed to prevent
abusive collection practices as the ones described within this
complaint, and to protect the privacy of citizens like Mr. Blount.

50. Plaintiff` is within the class of persons which the FDCPA was designed

to protect.

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51. Plaintilf is aconsumer within the meaning of 15 U.S.C. 1692a(3).

52. Defendant is a debt collectors within the meaning of 15 U.S.C.
1692a(6).

53. The foregoing acts and omissions of Defendant constitute numerous
and multiple egregious violations of the FDCPA. Specifically,
Defendant’s violations, include, but are not limited to, the following:

1. Defendant violated 15 U.S.C. 1692d by calling `Plaintiff
numerous times in an attempt to harass, oppress, and abuse
Plaintiff in the collection of a disputed debt;

Defendant violated 15 U.S.C. 1692e(2) in using a false

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representation and deception that Plaintiff owed a debt;

3. Defendant violated 15 U.S.C. 1692e(2) by falsely representing
the character, amount, or legal status of a debt;

4. Defendant violated 15 U.S.C. § 1692f(l) by the collection
of any amount (including any interest, fee, charge, or
expense incidental to the principal obligation) unless
such amount is expressly authorized by the agreement
creating the debt or permitted by law; and

5. Defendant violated 15 U.S.C. § 1692g in failing to send
Plaintiff a debt validation letter within the prescribed time for
sending such a letter.

54. As a result of Defendant’s violations of 15 U.S.C. 1692, Plaintiff is
entitled to an award of actual damages, statutory damages, for each

and every violation, pursuant to 15 U.S.C. 1692k.

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55. Plaintiff is also entitled to and seek injunctive relief prohibiting such
conduct in the future. As said conduct was carried out by Defendant in
an oppr‘essive, malicious, despicable, gross and wantonly negligent
manner, said conduct demonstrates Defendant’s conscious disregard
for the rights and safety of Plaintiff or his family. As such, Plaintiff is
entitled to recover punitive damages from Defendant in an amount to

be proven at trial.

CoUNT IV
VioLATIoN or THE FCCPA
FLA. S'rA'r. §§ 559.55 ETSEQ.

56. Plaintiff realleges and incorporates by reference each and every
allegation in the preceding paragraphs as if fully set forth herein.

57. Plaintiffis a consumer within the meaning of Fla. Stat. § 559.55(8).

58. Defendant are debt collectors within the meaning of Fla. Stat. §
559.55(7).

59. Defendant committed numerous and innumerable violations of Fla.
Stat. § 559.72, including but not limited to the following:

1. claiming, attempting or threatening to enforce a debt when such
persons knew that the debt was not legitimate;

2. willfully communicate with the debtor or any member of his family
with such frequency as can reasonably be expected to harass the
debtor or his family;

3. willfully engage in other conduct which can reasonably be expected
to abuse or harass the debtor or any member of his family;

4. claim, attempt, or threaten to enforce a debt when such person

knows that the debt is not legitimate, or assert the existence of some

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other legal right when such person knows that the right does not
exist; and

5. communicating with the debtor between the hours of 9 p.m. and 8
a.m. in the debtor’s time zone without the prior consent of the
debtor.

60. As a result of Defendant’s violations of Fla. Stat. § 559.72, Plaintiff
demands judgment for damages against Defendant for actual and
statutory damages, and punitive damages, attorney’s fees and costs,
pursuant to Fla. Stat. § 559.77.

COUNT V
INVASION OF PRIVACY

61. Plaintiff realleges and incorporates by reference each and every
allegation in the preceding paragraphs as if fully set forth herein.

62. Defendant had a duty to use care to not infringe on the privacy rights
of Plaintiff when collecting on alleged debts and not to call Plaintiff
countless times on schedule using a computerized dialer to harass and/
or abuse Plaintiff.

63. Defendant breached that duty by calling Plaintiff on his cellular
telephone an excessive number of times, as discussed above, and
continued to call despite Plaintiff’s requests to stop calling him.

64. Plaintiff was harmed and suffered injury as described above.

65. The negligence of Defendant was a substantial and proximate factor in
causing Plaintiff this harm and injury described above.

66. As said conduct was carried out by Defendant in an oppressive,
malicious, despicable, gross and wantonly negligent manner, said

conduct demonstrates Defendant’ conscious disregard for the rights of

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Plaintiff. As such, Plaintiff is entitled to recover punitive damages
from Defendant in addition to their special, compensatory, and general
damages

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FLonii)A’s DECEP'rivE Ai\ir) UNFAIR TRADE PRAc'rrcEs Ac'r
FLA. STAT. §§ 559.201. ETSEQ

67. Plaintiff realleges and incorporates by reference each and every
allegation in the preceding paragraphs as if fully set forth herein.

68. Fla. Stat. § 501.204(1) prohibits “unfair methods of competition,
unconscionable act or practices, and unfair or deceptive acts or
practices in the conduct of any trade or commerce ...”

69. Plaintiff is a consumer within the meaning of Fla. Stat. § 501 .203(7).

70. By harassing, oppressing, and abusing Blount in calling him after his
repeated requests to stop calling him, Defendant engaged in a
deceptive act or unfair practice.

71. Defendant’s deceptive conduct caused Plaintiff actual damages,
including loss ofthe use ofhis phone.

72. As a result of Defendant’s violations of Fla. Stat. § 501.204, Plaintiff
demands judgment for damages against Defendant for actual and
statutory damages, and punitive damages, attorney’s fees and costs,

pursuant to Fla. Stat. § 501.21 l.

COUNT III
_NEGLIGENCE

2. Plaintiff realleges and incorporates by reference each and every

allegation in the preceding paragraphs as if fully set forth herein.

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3. Defendant had a duty to use care to not infringe on their privacy rights
when collecting on an alleged debt and not to call Plaintiff multiple
times daily to harass and/or abuse Plaintiff

4. Defendant breached that duty by calling Plaintiff on his cellular
telephone an excessive number of times, as discussed above, and
continued to call despite Plaintiff’s request that the calls stop.

5. Plaintiff was harmed and suffered injury as described above.

6. The negligence of Defendant was a substantial and proximate factor in
causing Plaintiff’s harm and injury described above.

7. As said conduct was carried out by Defendant in an oppressive,
malicious, despicable, gross and wantonly negligent manner, said
conduct demonstrates Defendant's conscious disregard for the rights of
Plaintiff. As such, Plaintiff is each entitled to recover punitive damages
from Defendant in addition to his special, compensatory, and general

damages

COUNT IV
NEGLIGENCE PER SE -
TELEPHONE CONSUMER PROTECTION ACT

8. Plaintiff incorporates by reference paragraphs 1 through 34 of this
Complaint for this cause of action.

9. The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 was
designed to prevent calls like the ones described within this complaint,
and to protect the privacy of citizens like Plaintiff.

10. Plaintiff is within the class of persons which the TCPA is designed to

protect.

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11. As described above, Defendant breached their dirty when they violated
the TCPA.

12. Defendant’s violation of the TCPA was a substantial and proximate
factor in causing Plaintiff the harm and injury described above.

13. AS said conduct was carried out by Defendant in an oppressive,
malicious, despicable, gross and wantonly negligent manner, said
conduct demonstrates Defendant’s conscious disregard for the rights and
safety of Plaintiff or his family. As such Plaintiff is entitled to recover
punitive damages from Defendant in an amount according to proof at

tri al .

DEMAND F`OR JURY DEMANI)

Pursuant to the Seventh Amendment to the Constitution of the United
States of America, Plaintiffs are entitled to, and demand, a trial by jury on all
issues so triable, including the issue of the amount of statutory damages

PRAYER FOR REIJEF

Wl-lEREFORE, Plaintiff JESSE BLOUNT prays that judgment be
entered against Defendant Medicredit, and damages be awarded as follows:

' Statutory damages of $500.00 for each negligent violation of the

r1`CP’A pursuant to 47 U.S.C. § 227(b)(3)(B);
' Statutory damages of $1,500.00 for each knowing and/or willful
violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and
47 U.S.C. § 227(b)(3)(C);

- Statutory damages of 31000 for each violation of the FCCPA
pursuant to Fla. §§ 559.77(2);

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- Statutory damages of 551,000 and actual damages pursuant to 15
U.S.C. §§ 1692 er seq;

- A permanent injunction, restraining and enjoining Defendant
from communicating with Plaintiff in a manner that violates 47
U.S.C. §§ 227 er seq. or Fla. §§ 559.55 et Seq.;

‘ Actual, special general, compensatory, and punitive damages;

' Reasonable attorneys’ fees and costs; and

* Any and all other relief that the Court deems just and proper.
Respectfully submitted,

By: /s/ Ramona Ladwig
Ramona Ladwig
HYI)E & SWIGART
Florida Bar No. 0048212
175 S.W. 7th Street
l\/liami, Florida 33130
Phone: (214) 880-6362
Fax: (800) 635-6425
ramona@westcoastlitigation.com

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